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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

In re Case No. 06-20046-A-ll

Docket Control No. FWP-43
and FWP-44

LARGE SCALE BIOLOGY
CORPORATION, et al.,

Date: October l, 2007

Consolidated Debtor. Time: 9:00 a.m.

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MEMORANDUM

Large Scale Biology Corporation, a reorganized chapter ll
debtor, has filed two motions seeking, among other things, to
sell and assign certain patents and patent applications. On
August 21, The Dow Chemical Company and Dow AgroSciences, LLC
(collectively, “Dow”), filed opposition to these motions. The
debtor filed a reply to its opposition on September 5.

The hearing on the first motion (FWP-43), was initially
scheduled for August 20, but the hearing was continued to
September 4. The hearing on the second motion (FWP-44) was
initially calendared for September 4. On September 4, both

hearings were continued to September 25, then continued again to

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October 1. The continuances were to accommodate the parties and
their attorneys.

Now, Dow wants the court to entertain its motion to file a
sur-reply to the debtor’s reply to its opposition before the
October l hearing. The ostensible basis for this request is that
the debtor’s reply raises arguments “for the first time”
concerning Dow's opposition to the motions. The debtor, for
instance, asserts that some of Dow's opposition has been raised
in “bad faith.”

Not only will the court not schedule a hearing on Dow's
request to file a sur:reply, it will deny that request.

First, the rules of this court, indeed, the law and motion
rules of most courts, permit the moving party, not the
respondent, to have the last word. _§§ Fed. R. Bankr. P. 9014-
l(f)(l). When a motion is filed, any respondent may file
opposition to it and the movant may file a reply to that
opposition. The respondent may not file a sur-reply.

Second, while the court may, in its discretion, permit
additional briefing, including a sur-reply, it generally will not
permit such additional briefing absent good cause.

The cause offered here is that the debtor’s reply to Dow's
opposition raises issues “for the first time.”

Of course the debtor’s reply raises issues for the first
time. The purpose of a movant's reply is to respond to an
opposition. A reply necessarily raises facts and issues, for the
first time, that are germane to the opposition. If the evidence
and argument included with a motion were required to anticipate

the arguments a respondent might raise in opposition to the

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motion, the court would not permit the movant to file a reply to
any opposition.

This is not a case where the motion failed to address a
necessary prerequisite to the relief requested by the movant and,
after a respondent noted the deficiency, the movant added the
necessary evidence in its reply. This is sandbagging. If
permitted, it robs a respondent of its ability to respond
intelligently to the relief requested by the movant.

Dow has not been sandbagged. The debtor’s reply responds to
defensive issues put in play by Dow's opposition. The debtor’s
reply also maintains, among other things, that Dow's opposition
has not been raised in good faith. Because such an argument
could not be raised until the Dow's opposition was filed, it is
no surprise that it is raised in the debtor’s reply rather than
the motion.

The debtor’s motion was set for hearing on shortened notice.
In situations where the parties must respond to a motion over a
shorter time period than is the norm, the court is more than
amenable to departing from the customary briefing rules.

However, as noted above, the court already has continued the
hearing on the debtor’s motions several times and it has
permitted Dow to file opposition after the time specified in the
initial order setting a hearing on August 20. The deadline for
opposition was extended to permit the parties additional time to
negotiate and to file opposition, if any. Dow ultimately filed
its opposition on August 21, 21 days after the filing of the
first motion.

Finally, the timing of the request to file a sur-reply is

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troubling. The debtor’s reply was filed and served on September

5. Yet, Dow waited until September 20 to file its motion for

leave to file a sur-reply. If Dow is permitted to file a sur-

reply on September 25 as it requests, the debtor would be left

with just three business days to deal with any issues it raises.
A separate order will be entered.

Dated: 7§W ?/”’57

By the Court

Michael S. McManus, Chief Judge
United States Bankruptcy Court

 

 

 

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CERTIFICATE OF MAILING

l, Susan C. Cox, in the performance of my duties as a

judicial assistant to the Honorable Michael S. McManus, mailed by

ordinary mail to each of the parties named below a true
the attached document.

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Dated: September ¢%§; 2007

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Susan C. CoX

Judicial Assistant to Judge McManus

 

 

